                         Case 1-20-43932-jmm                Doc 1        Filed 11/06/20           Entered 11/06/20 19:41:17



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Fanchest, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  155 Water Street
                                  Brooklyn, NY 11201
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Fosdick Fulfillment Corporation
                                                                                                  129 Worthington Ridge Berlin, CT 06037
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Fanchest, Inc.                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4511

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Fanchest, Inc.                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Fanchest, Inc.                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 6, 2020
                                                  MM / DD / YYYY


                             X                                                                            James Waltz
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X                                                                             Date November 6, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael T. Conway
                                 Printed name

                                 Offit Kurman, P.A.
                                 Firm name

                                 590 Madison Avenue, 6th Floor
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     929.476.0041                  Email address      michael.conway@offitkurman.com

                                 2844025 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Fanchest, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 6, 2020                        X
                                                                         Signature of individual signing on behalf of debtor

                                                                         James Waltz
                                                                         Printed name

                                                                         President
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Fanchest, Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                  Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 47 Brand, LLC                                                   Trade                                                                                                  $154,076.28
 132 Campanelli Ind.
 Drive                           781-702-2921
 Brockton, MA 02301
 AB Tasty                                                        Trade                                                                                                    $10,500.00
 408 Broadway
 New York, NY 10013              877-260-4005
 Baby Fanatic LLC                                                Trade                                                                                                    $13,786.85
 4301 Dominion Blvd.
 Suite 130                       804-644-4707
 Glen Allen, VA
 23060
 DLS Worldwide                                                   Trade                                                                                                      $8,199.95
 1000 Windham
 Parkway                         877.744.3818
 Bolingbrook, IL
 60490
 Dumac LLC                                                                                                                                                                  $7,570.00
 560 W Brown Rd
 #1020
 Mesa, AZ 85201
 FabFitFun, Inc.                                                 Trade                                                                                                  $100,000.00
 360 N La Cienega
 Blvd                            310-625-7026
 Fl 3 #B
 Los Angeles, CA
 90048-1950
 Facebook                                                        Trade                                                                                                  $597,585.86
 1 Hacker Way
 Menlo Park, CA                  (650) 543-4800
 94025
 Frigon, Maher &                                                 Legal Services                                                                                           $42,765.62
 Stern LLP
 800 3rd Ave #2800               (646) 493-4683
 New York, NY 10022




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Fanchest, Inc.                                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Great American                                                  Trade                                                                                                  $308,502.00
 Products
 1661 S Seguin Ave               (830) 620-4400
 New Braunfels, TX
 78130
 HZDG a/k/a BCW,                                                 Trade                                                                                                    $21,654.75
 LLC
 10101 Molecular                 301.294.6302
 Drive
 Suite 300
 Rockville, MD 20850
 LiveIntent, Inc.                                                Trade                                                                                                      $9,715.02
 222 Broadway Floor
 22                              212-792-5348
 New York, NY 10038
 Pebblepost, Inc.                                                Trade                                                                                                    $25,017.75
 400 Lafayette St., 2d
 FL                              855-737-0730
 New York, NY 10003
 Refinery 29 Inc.                                                Trade                                                                                                    $11,428.32
 225 Broadway, 23rd
 Floor                           347.514.9178
 New York, NY 10007
 Spectrum                                                        Trade                                                                                                      $8,618.40
 Packaging Corp
 3640 Princeton Oaks             407.889.3100
 St.
 Orlando, FL 32808
 Steelhouse                                                      Trade                                                                                                      $9,616.98
 42 Greene St #200
 New York, NY 10013              (212) 355-0625
 Stephen Gould                                                                                                                                                          $120,498.13
 Corporation
 35 South Jefferson              973 428 1500
 Road
 Whippany, NJ 07981
 The Highland Mint                                               Trade                                                                                                  $212,726.00
 4100 N Riverside Dr
 Satellite Beach, FL             800-544-6135
 32937
 The Northwest                                                   Trade                                                                                                    $47,500.00
 Group, LLC
 49 Bryant Ave                   (800) 242-6996
 Roslyn, NY 11576
 Top of the World,                                               Trade                                                                                                    $18,923.19
 LLC
 2801 Technology                 (405) 360-9856
 Place
 Norman, OK 73071




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Fanchest, Inc.                                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Wincraft, Inc.                                                  Trade                                                                                                    $85,356.15
 960 East Mark Street
 P.O. Box 888         (800) 533-8100
 Winona, MN
 55987-0888




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Fanchest, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      11,784,774.66

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      11,784,774.66


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        1,963,678.91


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        1,850,775.01


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          3,814,453.92




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          Fanchest, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                      Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                         12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                     Current value of
                                                                                                                         debtor's interest

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepaid shipping deposit to Fosdick Fulfillment                                                                  $5,275.36




 9.         Total of Part 2.                                                                                                      $5,275.36
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 1
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 Debtor         Fanchest, Inc.                                                                   Case number (If known)
                Name



 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of        Valuation method used   Current value of
                                                      physical inventory         debtor's interest        for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Consumer Sports
           team-branded soft and
           hard goods held for
           resale titled to Fanchest
           as original purchaser,
           held in Fosdick
           (Connecticut) and Molly
           Fulfillment (Florida)
           storage and fulfillment
           facilities                                 2020                              $2,871,400.30     Comparable sale                $2,871,400.30



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                          $2,871,400.30
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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 Debtor         Fanchest, Inc.                                                                Case number (If known)
                Name


     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Serial Number 87519157 (FANCHEST Word
            Mark), Owner FANCHEST, INC                                                 Unknown                                           Unknown


            Serial Number 87281376 (FANCHEST Design
            Mark), Owner FANCHEST, INC                                                 Unknown                                           Unknown



 61.        Internet domain names and websites
            Fanchest.com                                                               Unknown                                           Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer and email mailing lists                                           Unknown                                           Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Fanchest, Inc.                                                               Case number (If known)
                Name

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                        Current value of
                                                                                                                        debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           NOL carryover                                                                         Tax year 2019                 $8,769,980.00



 73.       Interests in insurance policies or annuities
           Directors & Officers Scottsdale Insurance Company
           Policy#xxxxxx2091                                                                                                        Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Claim against Molly Fulfillment & Packaging LLC for
           breach of Lease Agreement and misappropriation of
           inventory                                                                                                                Unknown
           Nature of claim
           Amount requested                                          $1,000,000.00


           Claim against Phoenix Growth Capital LLC for turnover
           of misappropriated PPP Loan                                                                                           $138,119.00
           Nature of claim
           Amount requested                                           $138,119.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                $8,908,099.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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 Debtor          Fanchest, Inc.                                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $5,275.36

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $2,871,400.30

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $8,908,099.00

 91. Total. Add lines 80 through 90 for each column                                                       $11,784,774.66             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $11,784,774.66




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 5
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 Fill in this information to identify the case:

 Debtor name          Fanchest, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Fosdick Fulfillment Corp.                     Describe debtor's property that is subject to a lien                  $16,043.20           $1,500,000.00
        Creditor's Name                               Inventory
        26 Barnes Ind. Park N
        Wallingford, CT 06492
        Creditor's mailing address                    Describe the lien
                                                      Common Law Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Helix Digital Inc.                            Describe debtor's property that is subject to a lien              $1,597,635.71            $2,000,000.00
        Creditor's Name                               All assets
        1317 Edgewater Dr. #1233
        Orlando, FL 32804
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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 Debtor       Fanchest, Inc.                                                                          Case number (if known)
              Name

         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.3    Phoenix Growth Capital LL                     Describe debtor's property that is subject to a lien                     $350,000.00       $1,500,000.00
        Creditor's Name                               Inventory
        35 East Shady Lane
        Houston, TX 77063
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $1,963,678.9
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         1

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
         Thomas S. Luby, Esq.
         Luby Olson, P.C.                                                                                      Line   2.1
         405 Broad Street
         Meriden, CT 06450

         Wei-Li Tjong and Karin We
         Tjong & Hsia LLP                                                                                      Line   2.3
         45 Rockefeller Plaza, 20t
         New York, NY 10111




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Fanchest, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $154,076.28
           47 Brand, LLC                                                      Contingent
           132 Campanelli Ind. Drive                                          Unliquidated
           Brockton, MA 02301                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $10,500.00
           AB Tasty                                                           Contingent
           408 Broadway                                                       Unliquidated
           New York, NY 10013                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $1,346.25
           Awesome OS                                                         Contingent
           Ayala Business Center                                              Unliquidated
           Matina Town Square                                                 Disputed
           Gen. Douglas MacArthur Hw
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
           Babblebox                                                          Contingent
           333 Beechspring Rd                                                 Unliquidated
           South Orange, NJ 07079                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 8
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 Debtor       Fanchest, Inc.                                                                          Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,786.85
          Baby Fanatic LLC                                                    Contingent
          4301 Dominion Blvd.                                                 Unliquidated
          Suite 130                                                           Disputed
          Glen Allen, VA 23060
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Brooke Geller                                                       Contingent
          27 Midwood Cross                                                    Unliquidated
          Roslyn, NY 11576-2432                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          C. Jackson Cowart                                                   Contingent
          405 Howard St, Suite 200                                            Unliquidated
          San Francisco, CA 94105                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dan Weinberg                                                        Contingent
          100 Beekman Street                                                  Unliquidated
          Apartment 10b                                                       Disputed
          New York, NY 10038
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Delaware Division of Reve                                           Contingent
          Carvel State Building                                               Unliquidated
          820 N. French Street, 8th
                                                                              Disputed
          Wilmington, DE 19801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7123                         Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,199.95
          DLS Worldwide                                                       Contingent
          1000 Windham Parkway                                                Unliquidated
          Bolingbrook, IL 60490                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,570.00
          Dumac LLC                                                           Contingent
          560 W Brown Rd #1020                                                Unliquidated
          Mesa, AZ 85201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 8
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 Debtor       Fanchest, Inc.                                                                          Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Ebates Performance Mrktg                                            Contingent
          a/k/a Rakuten Rewards                                               Unliquidated
          160 Spear St FL 19                                                  Disputed
          San Francisco, CA 94105-1542
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          FabFitFun, Inc.                                                     Contingent
          360 N La Cienega Blvd                                               Unliquidated
          Fl 3 #B                                                             Disputed
          Los Angeles, CA 90048-1950
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $597,585.86
          Facebook                                                            Contingent
          1 Hacker Way                                                        Unliquidated
          Menlo Park, CA 94025                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $42,765.62
          Frigon, Maher & Stern LLP                                           Contingent
          800 3rd Ave #2800                                                   Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $308,502.00
          Great American Products                                             Contingent
          1661 S Seguin Ave                                                   Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Huledet                                                             Contingent
          201 East 79th Street                                                Unliquidated
          Suite 16i                                                           Disputed
          New York, NY 10075
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,654.75
          HZDG a/k/a BCW, LLC                                                 Contingent
          10101 Molecular Drive                                               Unliquidated
          Suite 300                                                           Disputed
          Rockville, MD 20850
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 8
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 Debtor       Fanchest, Inc.                                                                          Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Internal Revenue Service                                            Contingent
          Centralized Insolvency Op                                           Unliquidated
          P.O. Box 7346
                                                                              Disputed
          Philadelphia, PA 19101-7346
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          James Waltz                                                         Contingent
          4 Circle Drive                                                      Unliquidated
          Rumson, NJ 07760                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jeffrey Lin                                                         Contingent
          56 St. Marks Place                                                  Unliquidated
          Apartment 7D                                                        Disputed
          New York, NY 10003
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,741.46
          Listrak Inc.                                                        Contingent
          100 W Millport Rd                                                   Unliquidated
          Lititz, PA 17543                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,715.02
          LiveIntent, Inc.                                                    Contingent
          222 Broadway Floor 22                                               Unliquidated
          New York, NY 10038                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Malka Media Group LLC                                               Contingent
          75 Montgomery St                                                    Unliquidated
          Jersey City, NJ 07302                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,003.00
          Michaelson Entertainment                                            Contingent
          36 Cabrillo Terrace                                                 Unliquidated
          Aliso Viejo, CA 92656                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 8
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 Debtor       Fanchest, Inc.                                                                          Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,400.00
          Misumaru Corporation                                                Contingent
          1229 Western St. #5                                                 Unliquidated
          Fairfield, CA 94533                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $293.25
          Molly Fulfillment & Packa                                           Contingent
          59 SW 12th Ave #106                                                 Unliquidated
          Dania, FL 33004                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,673.33
          Narvar, Inc.                                                        Contingent
          50 Beale Street 7th Fl                                              Unliquidated
          San Francisco, CA 94105                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          New Era Cap Co., Inc.                                               Contingent
          160 Delaware Ave                                                    Unliquidated
          Buffalo, NY 14202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NYS Dept. of Tax & Financ                                           Contingent
          POB 5300                                                            Unliquidated
          Bankruptcy Unit
                                                                              Disputed
          Albany, NY 12205-0300
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,410.88
          Outerstuff LLC                                                      Contingent
          1412 Broadway, 18th Floor                                           Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,467.91
          Palm Beach Autographs                                               Contingent
          10300 Southside Blvd.                                               Unliquidated
          #207                                                                Disputed
          Jacksonville, FL 32256
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 8
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 Debtor       Fanchest, Inc.                                                                          Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,017.75
          Pebblepost, Inc.                                                    Contingent
          400 Lafayette St., 2d FL                                            Unliquidated
          New York, NY 10003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Proxima Partners LLC                                                Contingent
          30 N Gould St.                                                      Unliquidated
          Suite R                                                             Disputed
          Sheridan, WY 82801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,428.32
          Refinery 29 Inc.                                                    Contingent
          225 Broadway, 23rd Floor                                            Unliquidated
          New York, NY 10007                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $168.75
          Rico Industries, Inc.                                               Contingent
          8030 Solutions Center                                               Unliquidated
          Chicago, IL 60677-8000                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ricoh Company, Ltd.                                                 Contingent
          300 Eagleview Boulevard                                             Unliquidated
          Exton, PA 19341                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shelly Lin                                                          Contingent
          275 Greenwich St                                                    Unliquidated
          New York, NY 10007                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,618.40
          Spectrum Packaging Corp                                             Contingent
          3640 Princeton Oaks St.                                             Unliquidated
          Orlando, FL 32808                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Fanchest, Inc.                                                                          Case number (if known)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,616.98
          Steelhouse                                                          Contingent
          42 Greene St #200                                                   Unliquidated
          New York, NY 10013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $120,498.13
          Stephen Gould Corporation                                           Contingent
          35 South Jefferson Road                                             Unliquidated
          Whippany, NJ 07981                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51.32
          Team Golf                                                           Contingent
          2221 Luna Rd.                                                       Unliquidated
          Carrollton, TX 75006                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $212,726.00
          The Highland Mint                                                   Contingent
          4100 N Riverside Dr                                                 Unliquidated
          Satellite Beach, FL 32937                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,500.00
          The Northwest Group, LLC                                            Contingent
          49 Bryant Ave                                                       Unliquidated
          Roslyn, NY 11576                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,923.19
          Top of the World, LLC                                               Contingent
          2801 Technology Place                                               Unliquidated
          Norman, OK 73071                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,677.61
          Unicorr Packaging Group                                             Contingent
          455 Sackett Point Rd                                                Unliquidated
          North Haven, CT 06473                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Fanchest, Inc.                                                                          Case number (if known)
              Name

 3.47      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,000.00
           Willkie Media Inc.                                                 Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?     No  Yes
 3.48      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $85,356.15
           Wincraft, Inc.                                                     Contingent
           960 East Mark Street                                               Unliquidated
           P.O. Box 888                                                       Disputed
           Winona, MN 55987-0888
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No  Yes
 3.49      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Yotpo, Inc.                                                        Contingent
           400 Lafayette St                                                   Unliquidated
           New York, NY 10003
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Palm Beach Autographs
           1203 Town Center Drive                                                                     Line      3.32
           #117
           Jupiter, FL 33458                                                                                Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                           Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.          $                          0.00
 5b. Total claims from Part 2                                                                             5b.    +     $                  1,850,775.01

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.          $                     1,850,775.01




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 Fill in this information to identify the case:

 Debtor name         Fanchest, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Inventory storage and
              lease is for and the nature of              fulfillment and shipping
              the debtor's interest                       agreement

                  State the term remaining                12 Months
                                                                                     Fosdick Fulfillment Corp.
              List the contract number of any                                        129 Worthington Ridge
                    government contract                                              Berlin, CT 06037




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Fanchest, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                       Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                     State       Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                     State       Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                     State       Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                     State       Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                  Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Fanchest, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                       $215.00
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                              $1,621,035.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                              $9,697,934.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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 Debtor       Fanchest, Inc.                                                                            Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Phoenix Growth Capital LL                                   October 9,                      $138,119.00            Secured debt
               35 East Shady Lane                                          2020                                                   Unsecured loan repayments
               Houston, TX 77063                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other Creditor improperly
                                                                                                                                 withdrew this amount from
                                                                                                                                 Fanchest account


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    James Waltz                                                 December                           $4,166.66          Salary
               4 Circle Drive                                              2019
               Rumson, NJ 07760
               CEO

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property

       Molly Fulfillment & Packa                                 Inventory                                                                              $392,000.00
       59 SW 12th Ave #106
       Dania, FL 33004

       Phoenix Growth Capital LL                                 Cash                                                          October 9,               $138,119.00
       35 East Shady Lane                                                                                                      2020
       Houston, TX 77063


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

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 Debtor        Fanchest, Inc.                                                                               Case number (if known)



                Case title                                       Nature of case               Court or agency's name and               Status of case
                Case number                                                                   address
       7.1.     Fosdick Fulfillment                              Interpleader                 CT Superior Court                           Pending
                Corporation v. Fanchest, Inc.,                   action by landlord           Superior Court Judicial                   On appeal
                et al.                                                                        District of
                                                                                                                                        Concluded
                NNI-CV20-6020421-S                                                            New Haven at Meriden
                                                                                              54 West Main Street
                                                                                              Meriden, CT 06451


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
                Recipient's name and address                     Description of the gifts or contributions                  Dates given                             Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss            Value of property
       how the loss occurred                                                                                                                                      lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates                    Total amount or
                 the transfer?                                                                                                                                   value
                 Address
       11.1.     Offit Kurman, P.A.
                 590 Madison Avenue
                 Sixth Floor
                 New York, NY 10022                                                                                                                         $30,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
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 Debtor      Fanchest, Inc.                                                                              Case number (if known)



    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Customer purchase data and emails are collected from the website
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


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 Debtor      Fanchest, Inc.                                                                             Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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 Debtor      Fanchest, Inc.                                                                             Case number (if known)



           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Jason Oledan                                                                                                               2018-2020
                    115 Washington Place
                    Apartment #1
                    New York, NY 10014

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Jason Oledan                                                                                                               2018-2020
                    115 Washington Place
                    Apartment #1
                    New York, NY 10014

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jason Oledan
                    115 Washington Place
                    Apartment #1
                    New York, NY 10014
       26c.2.       James Waltz
                    4 Circle Drive
                    Rumson, NJ 07760

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 Debtor      Fanchest, Inc.                                                                             Case number (if known)




    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 James Waltz                                                                     January 10,
       .                                                                                    2020                     2,508,627 Market Basis

               Name and address of the person who has possession of
               inventory records
               Caecille Elgeti



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       James Waltz                                    4 Circle Drive                                      President and CEO
                                                      Rumson, NJ 07760



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Jeffrey Lin                                    56 St. Marks Place                                  President                         2016-2019
                                                      Apartment 7D
                                                      New York, NY 10003
       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Dan Weinberg                                   100 Beekman Sstreet                                 Secretary                         2016-2019
                                                      Apartment 10b
                                                      New York, NY 10038

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

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 Debtor      Fanchest, Inc.                                                                             Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 James Waltz
       .    4 Circle Drive                                                                                               December
               Rumson, NJ 07760                                  4,166.66                                                2019              Salary

               Relationship to debtor
               President and CEO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         November 6, 2020

                                                                        James Waltz
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                               United States Bankruptcy Court
                                                                     Eastern District of New York
 In re      Fanchest, Inc.                                                                                            Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Dan Weinberg                                                        Common           630000
 100 Beekman Street
 Apartment 10b
 New York, NY 10038

 Jeffrey Lin                                                         Common           630000
 56 St. Marks Place
 Apartment 7D
 New York, NY 10003

 Proxima Partners LLC                                                Common           16740000
 30 N Gould St.
 Suite R
 Sheridan, WY 82801


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 6, 2020                                                        Signature
                                                                                            James Waltz

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                     Eastern District of New York
 In re      Fanchest, Inc.                                                                               Case No.
                                                                                   Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       November 6, 2020
                                                                        James Waltz/President
                                                                        Signer/Title

 Date: November 6, 2020
                                                                        Signature of Attorney
                                                                        Michael T. Conway
                                                                        Offit Kurman, P.A.
                                                                        590 Madison Avenue, 6th Floor
                                                                        New York, NY 10022
                                                                        929.476.0041 Fax: 212.545.1656




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                   47 Brand, LLC
                   132 Campanelli Ind. Drive
                   Brockton, MA 02301


                   AB Tasty
                   408 Broadway
                   New York, NY 10013


                   Awesome OS
                   Ayala Business Center
                   Matina Town Square
                   Gen. Douglas MacArthur Hw


                   Babblebox
                   333 Beechspring Rd
                   South Orange, NJ 07079


                   Baby Fanatic LLC
                   4301 Dominion Blvd.
                   Suite 130
                   Glen Allen, VA 23060


                   Brooke Geller
                   27 Midwood Cross
                   Roslyn, NY 11576-2432


                   C. Jackson Cowart
                   405 Howard St, Suite 200
                   San Francisco, CA 94105


                   Dan Weinberg
                   100 Beekman Street
                   Apartment 10b
                   New York, NY 10038


                   Delaware Division of Reve
                   Carvel State Building
                   820 N. French Street, 8th
                   Wilmington, DE 19801


                   DLS Worldwide
                   1000 Windham Parkway
                   Bolingbrook, IL 60490
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               Dumac LLC
               560 W Brown Rd #1020
               Mesa, AZ 85201


               Ebates Performance Mrktg
               a/k/a Rakuten Rewards
               160 Spear St FL 19
               San Francisco, CA 94105-1542


               FabFitFun, Inc.
               360 N La Cienega Blvd
               Fl 3 #B
               Los Angeles, CA 90048-1950


               Facebook
               1 Hacker Way
               Menlo Park, CA 94025


               Fosdick Fulfillment Corp.
               26 Barnes Ind. Park N
               Wallingford, CT 06492


               Fosdick Fulfillment Corp.
               129 Worthington Ridge
               Berlin, CT 06037


               Frigon, Maher & Stern LLP
               800 3rd Ave #2800
               New York, NY 10022


               Great American Products
               1661 S Seguin Ave
               New Braunfels, TX 78130


               Helix Digital Inc.
               1317 Edgewater Dr. #1233
               Orlando, FL 32804


               Huledet
               201 East 79th Street
               Suite 16i
               New York, NY 10075
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               HZDG a/k/a BCW, LLC
               10101 Molecular Drive
               Suite 300
               Rockville, MD 20850


               Internal Revenue Service
               Centralized Insolvency Op
               P.O. Box 7346
               Philadelphia, PA 19101-7346


               James Waltz
               4 Circle Drive
               Rumson, NJ 07760


               Jeffrey Lin
               56 St. Marks Place
               Apartment 7D
               New York, NY 10003


               Listrak Inc.
               100 W Millport Rd
               Lititz, PA 17543


               LiveIntent, Inc.
               222 Broadway Floor 22
               New York, NY 10038


               Malka Media Group LLC
               75 Montgomery St
               Jersey City, NJ 07302


               Michaelson Entertainment
               36 Cabrillo Terrace
               Aliso Viejo, CA 92656


               Misumaru Corporation
               1229 Western St. #5
               Fairfield, CA 94533


               Molly Fulfillment & Packa
               59 SW 12th Ave #106
               Dania, FL 33004
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               Narvar, Inc.
               50 Beale Street 7th Fl
               San Francisco, CA 94105


               New Era Cap Co., Inc.
               160 Delaware Ave
               Buffalo, NY 14202


               NYS Dept. of Tax & Financ
               POB 5300
               Bankruptcy Unit
               Albany, NY 12205-0300


               Outerstuff LLC
               1412 Broadway, 18th Floor
               New York, NY 10018


               Palm Beach Autographs
               10300 Southside Blvd.
               #207
               Jacksonville, FL 32256


               Palm Beach Autographs
               1203 Town Center Drive
               #117
               Jupiter, FL 33458


               Pebblepost, Inc.
               400 Lafayette St., 2d FL
               New York, NY 10003


               Phoenix Growth Capital LL
               35 East Shady Lane
               Houston, TX 77063


               Proxima Partners LLC
               30 N Gould St.
               Suite R
               Sheridan, WY 82801


               Refinery 29 Inc.
               225 Broadway, 23rd Floor
               New York, NY 10007
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               Rico Industries, Inc.
               8030 Solutions Center
               Chicago, IL 60677-8000


               Ricoh Company, Ltd.
               300 Eagleview Boulevard
               Exton, PA 19341


               Shelly Lin
               275 Greenwich St
               New York, NY 10007


               Spectrum Packaging Corp
               3640 Princeton Oaks St.
               Orlando, FL 32808


               Steelhouse
               42 Greene St #200
               New York, NY 10013


               Stephen Gould Corporation
               35 South Jefferson Road
               Whippany, NJ 07981


               Team Golf
               2221 Luna Rd.
               Carrollton, TX 75006


               The Highland Mint
               4100 N Riverside Dr
               Satellite Beach, FL 32937


               The Northwest Group, LLC
               49 Bryant Ave
               Roslyn, NY 11576


               Thomas S. Luby, Esq.
               Luby Olson, P.C.
               405 Broad Street
               Meriden, CT 06450


               Top of the World, LLC
               2801 Technology Place
               Norman, OK 73071
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               Unicorr Packaging Group
               455 Sackett Point Rd
               North Haven, CT 06473


               Wei-Li Tjong and Karin We
               Tjong & Hsia LLP
               45 Rockefeller Plaza, 20t
               New York, NY 10111


               Wincraft, Inc.
               960 East Mark Street
               P.O. Box 888
               Winona, MN 55987-0888


               Yotpo, Inc.
               400 Lafayette St
               New York, NY 10003
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                                                               United States Bankruptcy Court
                                                                     Eastern District of New York
 In re      Fanchest, Inc.                                                                                Case No.
                                                                                  Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Fanchest, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Proxima Partners LLC
 30 N Gould St.
 Suite R
 Sheridan, WY 82801




 None [Check if applicable]




 November 6, 2020
 Date                                                                 Michael T. Conway
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Fanchest, Inc.
                                                                      Offit Kurman, P.A.
                                                                      590 Madison Avenue, 6th Floor
                                                                      New York, NY 10022
                                                                      929.476.0041 Fax:212.545.1656
                                                                      michael.conway@offitkurman.com




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                                                     UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF NEW YORK


                                                         STATEMENT PURSUANT TO LOCAL
                                                           BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                  Fanchest, Inc.                                                            CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

 NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
 THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                              [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                              [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                              [If closed] Date of closing:




                                                                                (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

 CURRENT STATUS OF RELATED CASE:
                                                                         (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                   Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.



 Michael T. Conway
 Signature of Debtor's Attorney                                                         Signature of Pro Se Debtor/Petitioner
 Offit Kurman, P.A.
 590 Madison Avenue, 6th Floor
 New York, NY 10022
 929.476.0041 Fax:212.545.1656                                                          Signature of Pro Se Joint Debtor/Petitioner


                                                                                        Mailing Address of Debtor/Petitioner


                                                                                        City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                                           Rev.8/11/2009
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